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                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE


             In re:                                                             Chapter 11

             TOWN SPORTS INTERNATIONAL, LLC, et al.,1                           Case No. 20-12168 (CSS)

                                                Debtors.                        (Jointly Administered)


                            NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED
                                  FOR TELEPHONIC AND VIDEO HEARING ON
                                      OCTOBER 16, 2020 AT 2:00 P.M. (ET)

                   AT THE COURT’S DIRECTION, THE HEARING HAS BEEN RESCHEDULED TO
                                              2:00 P.M. (ET)


             THIS HEARING WILL BE HELD TELEPHONICALLY VIA COURTCALL AND, IN CERTAIN
              CIRCUMSTANCES, BY VIDEO VIA ZOOM. ALL PARTIES WISHING TO APPEAR MUST
                DO SO TELEPHONICALLY BY CONTACTING COURTCALL, LLC AT 866-582-6878.
             ONLY THOSE PARTIES THAT WILL BE ADDRESSING THE COURT SHOULD APPEAR BY
                   VIDEO VIA ZOOM IN ADDITION TO THEIR COURTCALL REGISTRATION.

                 PLEASE NOTE THAT THE MICROPHONES ON THE ZOOM MEETING WILL BE MUTED
                            AND THE ONLY AUDIO WILL BE THROUGH COURTCALL.

                                           Topic: Town Sports Intl 20-12168 Hearing
                                 Time: October 16, 2020 2:00 P.M. Eastern Time (US and Canada)

                                                        Join ZoomGov Meeting
                                            https://debuscourts.zoomgov.com/j/1613882367

                                                        Meeting ID: 161 388 2367
                                                           Passcode: 278206




             1
                The last four digits of Town Sports International, LLC’s federal tax identification number are 7365. The mailing
             address for Town Sports International, LLC is 399 Executive Boulevard, Elmsford, New York 10523. Due to the
             large number of debtors in these cases, for which the Debtors have requested joint administration, a complete list of
             the Debtors, the last four digits of their federal tax identification numbers, and their addresses are not provided
             herein. A complete list of such information may be obtained on the website of the Debtors’ proposed claims and
             noticing agent at http://dm.epiq11.com/TownSports, or by contacting the proposed undersigned counsel for the
             Debtors.
             2
                 Amended information appears in bold.

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         RESOLVED MATTERS

         1.   Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a), 363(b),
              507(a)(8), 541, 1107(a) and 1108 of the Bankruptcy Code, (I) Authorizing the Debtors to
              Pay Certain Prepetition Taxes and Fees and Related Obligations, (II) Authorizing Banks
              to Honor and Process Check and Electronic Transfer Requests Related Thereto, and
              (III) Scheduling a Final Hearing [Docket No. 5, 9/14/20]

              Related Documents:

                 A. Interim Order, Pursuant to Sections 105(a), 363(b), 507(a)(8), 541, 1107(a) and
                    1108 of the Bankruptcy Code, (I) Authorizing the Debtors to Pay Certain
                    Prepetition Taxes and Fees and Related Obligations, (II) Authorizing Banks to
                    Honor and Process Check and Electronic Transfer Requests Related Thereto, and
                    (III) Scheduling a Final Hearing [Docket No. 62, 9/16/20]

                 B. Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No.
                    66, 9/16/20]

                 C. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 D. Certificate of No Objection [Docket No. 185, 10/8/20]

                 E. Final Order, Pursuant to Sections 105(a), 363(b), 507(a)(8), 541, 1107(a) and
                    1108 of the Bankruptcy Code, (I) Authorizing the Debtors to Pay Certain
                    Prepetition Taxes and Fees and Related Obligations, (II) Authorizing Banks to
                    Honor and Process Check and Electronic Transfer Requests Related Thereto, and
                    (III) Scheduling a Final Hearing [Docket No. 198, 10/9/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

              Objections/Responses Filed: None.

              Status: A Final Order has been entered. No hearing is necessary.

         2.   Debtors’ Motion for Entry of Interim and Final Orders, Pursuant to Sections 105(a),
              363(b), 507(a)(4) and 507(a)(5) of the Bankruptcy Code, (A) Authorizing (I) Payment of
              Prepetition Employee Wages, Salaries and Other Compensation; (II) Payment of
              Prepetition Employee Business Expenses; (III) Contributions to Prepetition Employee
              Benefit Programs and Continuation of Such Programs in the Ordinary Course;
              (IV) Payment of Workers’ Compensation Obligations; (V) Payments for Which
              Prepetition Payroll Deductions Were Made; (VI) Payment of All Costs and Expenses
              Incident to the Foregoing Payments and Contributions; and (VII) Payment to Third
              Parties of All Amounts Incident to the Foregoing Payments and Contributions; and
              (B) Authorizing Banks to Honor and Process Check and Electronic Transfer Requests
              Related Thereto [Docket No. 6, 9/14/20]




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              Related Documents:

                 A. Interim Order, Pursuant to Sections 105(a), 363(b), 507(a)(4) and 507(a)(5) of the
                    Bankruptcy Code, (A) Authorizing (I) Payment of Prepetition Employee Wages,
                    Salaries and Other Compensation; (II) Payment of Prepetition Employee Business
                    Expenses; (III) Contributions to Prepetition Employee Benefit Programs and
                    Continuation of Such Programs in the Ordinary Course; (IV) Payment of
                    Workers’ Compensation Obligations; (V) Payments for Which Prepetition Payroll
                    Deductions Were Made; (VI) Payment of All Costs and Expenses Incident to the
                    Foregoing Payments and Contributions; and (VII) Payment to Third Parties of All
                    Amounts Incident to the Foregoing Payments and Contributions; and (B)
                    Authorizing Banks to Honor and Process Check and Electronic Transfer Requests
                    Related Thereto [Docket No. 59, 9/16/20]

                 B. Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No.
                    66, 9/16/20]

                 C. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 D. Certificate of No Objection [Docket No. 186, 10/8/20]

                 E. Final Order, Pursuant to Sections 105(a), 363(b), 507(a)(4) and 507(a)(5) of the
                    Bankruptcy Code, (A) Authorizing (I) Payment of Prepetition Employee Wages,
                    Salaries and Other Compensation; (II) Payment of Prepetition Employee Business
                    Expenses; (III) Contributions to Prepetition Employee Benefit Programs and
                    Continuation of Such Programs in the Ordinary Course; (IV) Payment of
                    Workers’ Compensation Obligations; (V) Payments for Which Prepetition Payroll
                    Deductions Were Made; (VI) Payment of All Costs and Expenses Incident to the
                    Foregoing Payments and Contributions; and (VII) Payment to Third Parties of All
                    Amounts Incident to the Foregoing Payments and Contributions; and (B)
                    Authorizing Banks to Honor and Process Check and Electronic Transfer Requests
                    Related Thereto [Docket No. 199, 10/9/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

              Objections/Responses Filed: None.

              Status: A Final Order has been entered. No hearing is necessary.

         3.   Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a) and 363 of the
              Bankruptcy Code, (I) Authorizing Payment of Prepetition Obligations Incurred in the
              Ordinary Course of Business in Connection with Insurance Programs, Including Payment
              of Policy Premiums and Broker Fees; (II) Authorizing Banks to Honor and Process
              Check and Electronic Transfer Requests Related Thereto, and (III) Scheduling A Final
              Hearing [Docket No. 7, 9/14/20]




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              Related Documents:

                 A. Interim Order, Pursuant to Sections 105(a) and 363 of the Bankruptcy Code, (I)
                    Authorizing Payment of Prepetition Obligations Incurred in the Ordinary Course
                    of Business in Connection with Insurance Programs, Including Payment of Policy
                    Premiums and Broker Fees; (II) Authorizing Banks to Honor and Process Check
                    and Electronic Transfer Requests Related Thereto, and (III) Scheduling A Final
                    Hearing [Docket No. 60, 9/16/20]

                 B. Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No.
                    66, 9/16/20]

                 C. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 D. Certificate of No Objection [Docket No. 187, 10/8/20]

                 E. Final Order, Pursuant to Sections 105(a) and 363 of the Bankruptcy Code, (I)
                    Authorizing Payment of Prepetition Obligations Incurred in the Ordinary Course
                    of Business in Connection with Insurance Programs, Including Payment of Policy
                    Premiums and Broker Fees; (II) Authorizing Banks to Honor and Process Check
                    and Electronic Transfer Requests Related Thereto, and (III) Scheduling A Final
                    Hearing [Docket No. 200, 10/9/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

              Objections/Responses Filed: None.

              Status: A Final Order has been entered. No hearing is necessary.

         4.   Motion of Debtors for Interim and Final Orders (I) Authorizing Debtors to (A) Continue
              Operating Existing Cash Management System, (B) Honor Certain Prepetition Obligations
              Related Thereto, (C) Maintain Existing Business Forms, and (D) Continue to Perform
              Intercompany Transactions, and (II) Granting Related Relief [Docket No. 10, 9/14/20]

              Related Documents:

                 A. Interim Order, (I) Authorizing Debtors to (A) Continue Operating Existing Cash
                    Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
                    (C) Maintain Existing Business Forms, and (D) Continue to Perform
                    Intercompany Transactions, and (II) Granting Related Relief [Docket No. 63,
                    9/16/20]

                 B. Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No.
                    66, 9/16/20]

                 C. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 D. Certification of Counsel [Docket No. 213, 10/9/20]


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                 E. Final Order (I) Authorizing Debtors to (A) Continue Operating Existing Cash
                    Management System, (B) Honor Certain Prepetition Obligations Related Thereto,
                    (C) Maintain Existing Business Forms, and (D) Continue to Perform
                    Intercompany Transactions, and (II) Granting Related Relief [Docket No. 221,
                    10/13/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET) [Extended to
              October 9, 2020 at 4:00 p.m. (ET) solely with respect to the Official Committee of
              Unsecured Creditors]

              Objections/Responses Filed:

                 F. Informal comments of the Official Committee of Unsecured Creditors

              Status: A revised form of order resolving the informal comments has been entered. No
                      hearing is necessary.

         5.   Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to Use
              Cash Collateral, (II) Granting Adequate Protection, (III) Modifying the Automatic Stay,
              (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 11,
              9/14/20]

              Related Documents:

                 A. Interim Order (I) Authorizing Use of Cash Collateral and Affording Adequate
                    Protection; (II) Modifying Automatic Stay; and (III) Scheduling a Final Hearing
                    [Docket No. 64, 9/16/20]

                 B. Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No.
                    66, 9/16/20]

                 C. Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the
                    Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use
                    Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative
                    Expense Status, (IV) Granting Adequate Protection to the Prepetition Lenders,
                    (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing, and (VII)
                    Granting Related Relief [Docket No. 146, 10/1/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

              Objections/Responses Filed: None.

              Status: The Debtors’ DIP Motion (item c above) supersedes the Cash Collateral Motion,
                      as the relief requested therein has been subsumed into the DIP Order going
                      forward. As such, the Debtors no longer are pursuing entry of a separate final
                      order approving the Cash Collateral Motion. No hearing is necessary.


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         6.   Motion of EBRA 70 Pine Master Tenant LLC to Effectuate Rejection of Lease Nunc Pro
              Tunc to Surrender of Keys [Docket No. 110, 9/28/20]

              Related Document:

                 A. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

              Objections/Responses Filed: None at this time.

              Status: This matter has been resolved. The Movant has advised the Debtors that, upon
                      rejection of the subject lease, they agree that their motion will be withdrawn.

         7.   Debtors’ Motion for Entry of an Order Extending the Time for Filing Schedules and
              Statements [Docket No. 132, 9/30/20]

              Related Documents:

                 A. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 B. Certificate of No Objection [Docket No. 188, 10/8/20]

                 C. Order Extending the Time for Filing Schedules and Statements [Docket No. 201,
                    10/9/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

              Objections/Responses Filed: None.

              Status: An order has been entered. No hearing is necessary.

         8.   Debtors’ Motion for and Entry of an Order (I) Establishing Procedures for Interim
              Compensation and Reimbursement of Expenses for Professionals and (II) Granting
              Related Relief [Docket No. 133, 9/30/20]

              Related Documents:

                 A. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 B. Certification of Counsel [Docket No. 189, 10/8/20]

                 C. Order (I) Establishing Procedures for Interim Compensation and Reimbursement
                    of Expenses for Retained Professionals and (II) Granting Related Relief [Docket
                    No. 195, 10/9/20]

              Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)


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               Objections/Responses Filed:

                  D. Informal comments of the U.S. Trustee

               Status: A revised form of order resolving the informal comments has been entered. No
                       hearing is necessary.

         9.    Debtors’ Motion for and Entry of an Order (I) Authorizing Debtors to Retain and
               Compensate Professionals Utilized in the Ordinary Course of Business and (II) Granting
               Related Relief [Docket No. 134, 9/30/20]

               Related Documents:

                  A. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                  B. Certification of Counsel [Docket No. 214, 10/9/20]

                  C. Order Authorizing Debtors to Retain and Compensate Professionals Utilized in
                     the Ordinary Course of Business and (II) Granting Related Relief [Docket No.
                     222, 10/13/20]

               Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET) [Extended to
               October 9, 2020 at 4:00 p.m. (ET) solely with respect to the Official Committee of
               Unsecured Creditors]

               Objections/Responses Filed:

                  D. Informal comments of the Official Committee of Unsecured Creditors

               Status: A revised form of order resolving the informal comments has been entered. No
                       hearing is necessary.

         10.   Debtors’ Motion Seeking Entry of an Order (I) Authorizing and Approving Procedures to
               Reject or Assume Executory Contracts and Unexpired Leases and (II) Granting Related
               Relief [Docket No. 135, 9/30/20]

               Related Documents:

                  A. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                  B. Certification of Counsel [Docket No. 217, 10/12/20]

                  C. Order (I) Authorizing and Approving Procedures to Reject Executory Contracts
                     and Unexpired Leases and Procedures Related Thereto and (II) Granting Related
                     Relief [Docket No. 224, 10/13/20]

               Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)

               Objections/Responses Filed: Various informal comments.

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                    Status: A revised form of order resolving the various informal comments has been
                            entered. No hearing is necessary.

         CONTESTED MATTERS

         11.        Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
                    Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,
                    (III) Granting Liens and Providing Superpriority Administrative Expense Status,
                    (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying the
                    Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief
                    [Docket No. 146, 10/1/20]

                    Related Documents:

                         A. Declaration of Jason Feintuch in Support of Debtors’ Motion for Entry of Interim
                            and Final Orders (I) Authorizing the Debtors to Obtain Postpetition Financing,
                            (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
                            Providing Superpriority Administrative Expense Status, (IV) Granting Adequate
                            Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay,
                            (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No.
                            147, 10/1/20]3

                         B. Motion to Shorten Notice [Docket No. 148, 10/1/20]

                         C. Order Shortening Notice [Docket No. 150, 10/2/20]

                         D. Notice of Filing of Blackline of Proposed Interim DIP Order [Docket No. 154,
                            10/2/20]

                         E. Declaration of John C. DiDonato in Support of Debtors' Motion [Docket No. 155,
                            10/2/20]4

                         F. Interim Order (I) Authorizing the Debtors to Obtain Postpetition Financing,
                            (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and
                            Providing Superpriority Administrative Expense Status, (IV) Granting Adequate
                            Protection to the Prepetition Lenders, (V) Modifying the Automatic Stay,
                            (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No.
                            159, 10/2/20]

                         G. Notice of Hearing [Docket No. 168, 10/5/20]

                         H. Notice of Filing of Blackline of Proposed Further Interim Dip Order [Docket No.
                            194, 10/9/20]

                         I. Second Interim Order (I) Authorizing the Debtors to Obtain Postpetition
                            Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting

         3
             The physical location of this declarant is Scarsdale, NY.
         4
             The physical location of this declarant is Pittsburgh, PA.
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                          Liens and Providing Superpriority Administrative Expense Status, (IV) Granting
                          Adequate Protection to the Prepetition Lenders, (V) Modifying the Automatic
                          Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket
                          No. 205, 10/9/20]

                     J. Notice of Final Hearing [Docket No. 212, 10/9/20]

                     Objection/Response Deadline: October 14, 2020 at 4:00 p.m. (ET)

                     Objections/Responses Filed:

                     K. Limited Objection of Country View Commons LLC, Essential Properties
                        Realty Trust; Federal Realty Investment Trust, Starwood Retail Partners
                        LLC, Store Capital, The Macerich Company and Urban Edge Properties
                        L.P. [Docket No. 245, 10/14/20]

                     L. Informal comments of the Official Committee of Unsecured Creditors

                     M. Informal comments of Daxko LLC

                     Status: This matter will be going forward on a final basis.5

         12.     Debtors’ Motion for Interim and Final Orders, Pursuant to Sections 105(a) and 366 of the
                 Bankruptcy Code, (I) Prohibiting Utility Companies from Altering, Refusing, or
                 Discontinuing Utility Services, (II) Deeming Utility Companies Adequately Assured of
                 Future Payment, (III) Establishing Procedures for Determining Additional Adequate
                 Assurance of Payment, and (IV) Setting a Final Hearing Related Thereto [Docket No. 4,
                 9/14/20]

                 Related Documents:

                     A. Interim Order, Pursuant to Sections 105(a) and 366 of the Bankruptcy Code,
                        (I) Prohibiting Utility Companies from Altering, Refusing, or Discontinuing
                        Utility Services, (II) Deeming Utility Companies Adequately Assured of Future
                        Payment, (III) Establishing Procedures for Determining Additional Adequate
                        Assurance of Payment, and (IV) Setting a Final Hearing Related Thereto [Docket
                        No. 58, 9/16/20]

                     B. Omnibus Notice of First Day Pleadings and Final Hearing Thereon [Docket No.
                        66, 9/16/20]

                     C. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                 Objection/Response Deadline: October 7, 2020 at 4:00 p.m. (ET)



         5
           The DIP Motion supersedes the Cash Collateral Motion previously filed [Docket No. 11], as the relief requested
         therein has been subsumed into the DIP Order going forward. As such, the Debtors no longer are pursuing entry of
         a separate final order approving the Cash Collateral Motion.
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               Objections/Responses Filed:

                  D. Objection of Certain Utility Companies [Docket No. 130, 9/30/20]

                  E. Notice of Withdrawal of Objection [Docket No. 254, 10/15/20]

               Additional Related Document:

                  F. Certification of Counsel [Docket No. 253, 10/15/20]

               Status: The objection has been resolved and withdrawn. A revised form of order
                       has been submitted under Certification of Counsel. Unless the Court has
                       questions regarding the requested relief, no hearing is necessary.

         13.   Motion of Debtors Pursuant to Sections 105(a), 365(a), and 554(a) of the Bankruptcy
               Code, Authorizing the Debtors to (I) Reject Certain Unexpired Leases of Nonresidential
               Real Property Effective as of the Petition Date and (II) Abandon Property in Connection
               Therewith [Docket No. 9, 9/14/20]

               Related Documents:

                  A. Notice of Hearing [Docket No. 68, 9/16/20]

                  B. Notice of Filing of Revised Rejection List [Docket No. 82, 9/18/20]

                  C. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                  D. Notice of Filing of Blackline of Proposed Order [Docket No. 241, 10/14/20]

               Objection/Response Deadline:     October 7, 2020 at 4:00 p.m. [Extended for various
               landlords]

               Objections/Responses Filed:

                  E. Limited Objection of KRG Bayonne Urban Renewal, LLC [Docket No. 172,
                     10/7/20]

                  F. Limited Objection of GP Associates, a New York Partnership [Docket No. 176,
                     10/7/20]

                  G. Limited Objection of 39 W. Northfield Associates, LLC [Docket No. 210,
                     10/9/20]

               Status: This matter will be going forward.




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         14.   Second Omnibus Motion of Debtors Pursuant to Sections 105(a), 365(a), and 554(a) of
               the Bankruptcy Code, Authorizing the Debtors to (I) Reject Certain Unexpired Leases of
               Nonresidential Real Property Effective as of September 29, 2020 and (II) Abandon
               Property in Connection Therewith [Docket No. 121, 9/29/20]

               Related Documents:

                  A. Notice of Rescheduled Hearing [Docket No. 177, 10/7/20]

                  B. Notice of Filing of Blackline of Proposed Order [Docket No. 242, 10/14/20]

               Objection/Response Deadline:    October 7, 2020 at 4:00 p.m. [Extended for various
               landlords]

               Objections/Responses Filed:

                  C. Objection of GFP Real Estate, LLC, as agent for Lafayette-Astor Associates LLC
                     [Docket No. 173, 10/7/20]

                  D. Response of 28-30 Avenue A, LLC [Docket No. 179, 10/7/20]

                  E. Joinder and Limited Objection of 429-441 86th Street LLC to Objections to
                     Second Omnibus Motion [Docket No. 225, 10/13/20]

               Additional Related Documents:

                  F. Certification of Counsel [Docket No. 246, 10/14/20]

                  G. Second Omnibus Order, Pursuant to Pursuant to Sections 105(a), 365(a), and
                     554(a) of the Bankruptcy Code, Authorizing the Debtors to (I) Reject Certain
                     Unexpired Leases of Nonresidential Real Property Effective as of the
                     Rejection Date and (II) Abandon Property in Connection Therewith [Docket
                     No. 249, 10/15/20]

               Status: A revised form of order resolving the objections has been entered. No
                       hearing is necessary.


                                     [SIGNATURE PAGE FOLLOWS]




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         Dated: Wilmington, Delaware    YOUNG CONAWAY STARGATT & TAYLOR, LLP
                October 15, 2020
                                        /s/ Sean T. Greecher
                                        Robert S. Brady (No. 2847)
                                        Sean T. Greecher (No. 4484)
                                        Allison S. Mielke (No. 5934)
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                                        and

                                        KIRKLAND & ELLIS LLP
                                        Nicole L. Greenblatt, P.C. (admitted pro hac vice)
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                                        New York, New York 10022
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                                        San Francisco, CA 94104
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                                        Facsimile: (312) 862-2200
                                        Email: josh.altman@kirkland.com

                                        Proposed Counsel to the Debtors
                                        and Debtors in Possession




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